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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case Number: 18-CR-20773-WILLIAMS

  UNITED STATES OF AMERICA,

  vs.

  JEROME ALLEN,

        Defendant.
  __________________________/


   GOVERNMENT’S RESPONSE TO THE PRESENTENCE INVESTIGATION REPORT

         The United States of America respectfully submits this Response to the Presentence

  Investigation Report (“PSR”) for Jerome Allen. On October 3, 2018, Allen pled guilty, pursuant

  to a Plea Agreement, to an information charging one count of money laundering, in violation of

  18 U.S.C. § 1957. The Plea Agreement (DE10) recommends that the total adjusted offense level

  for Allen is 11, with a corresponding sentencing range of 8-14 months. The PSR, in contrast, has

  calculated the total adjusted offense level for Allen as 16, with a range of 21-27 months. For the

  reasons set forth below, the United States asks the Court to adopt the Guidelines calculation agreed

  upon by the parties in the Plea Agreement.

                         FACTUAL AND PROCEDURAL BACKGROUND

         A.      The Offense

         In January 2017, Allen was approached by law enforcement and, without an attorney,

  admitted to accepting bribes from Philip Esformes to secure admission for Esformes’ family

  member at the University of Pennsylvania and a spot on the basketball team. During that initial




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  interview, Allen reviewed a summary of wire transfers he received from Esformes via a “charity”

  bank account in the name of one of Esformes’ nursing home administrators.

         Allen subsequently obtained an attorney and provided additional information to the

  Government under the protections of a Kastigar letter. The Kastigar letter provides, among other

  things, that the Government “will not offer into evidence … in connection with any sentencing

  proceeding for the purposes of determining an appropriate sentence, any statements made by

  [Allen] at the meeting.” During the meeting subject to these protections, Allen clarified, and

  expanded on, the way he received bribes from Esformes, which included cash payments as well.

         B.      The Plea Agreement

         Pursuant to the Plea Agreement, Allen pled guilty to one count of money laundering, in

  violation of 18 U.S.C. § 1957. The loss contemplated by the Plea Agreement is based upon a

  December 1, 2014 wire transfer of $18,000 from Esformes, via the “charity” bank account, to an

  account Allen opened for the purposes of receiving the bribes. DE11. On January 15, 2015, Allen

  transferred $11,000 of the wire he received from Esformes to a joint bank account he shared with

  his wife. Id. The Plea Agreement only included as loss the $18,000 bribe payment that funded

  the $11,000 transfer Allen made to the joint account with his wife. Based upon these transactions,

  the Plea Agreement recommends that the total adjusted offense for Allen should be 11. The Plea

  Agreement did not contemplate a loss calculation with any of the additional bribe payments as

  relevant conduct. Instead, as part of the negotiated resolution of this matter, Allen agreed to pay

  a fine equivalent to the remainder of the wire transfers he received from Esformes (totaling

  $202,000).




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         C.      The PSR

         The PSR, in recommending a higher loss calculation than contemplated by the Plea

  Agreement, has taken the total dollar figure from a chart of wires provided by agents to Allen

  during his initial uncounseled interview ($233,000), and then added a payment of $10,000 for

  reasons unknown to the parties, bringing the total loss to $243,000 and raising Allen’s adjusted

  offense level to 16. 1 The PSR included theses additional wire transfers and $10,000 payment as

  relevant conduct under USSG § 1B1.3(a). DE16:23. The PSR is otherwise in accord with the Plea

  Agreement.

         D.      Esformes Trial

         In March 2019, Allen testified at Esformes’ trial and explained how he received cash and

  also $220,000 via wire transfers from Esformes, in exchange for helping Esformes’ son secure

  admission to the University of Pennsylvania (16-CR-20459-RNS, GX 32G). The jury ultimately

  convicted Esformes of two counts related to Allen’s testimony: 1) conspiracy to commit federal

  program bribery, in violation of 18 U.S.C. § 666; and 2) laundering the proceeds of health care

  fraud and wire fraud, in violation of 18 U.S.C. § 1956, by paying Allen $18,000 on December 1,




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           The actual amount of the wire transfers from Esformes to Allen was $220,000 and not
  $233,000, as demonstrated during the Esformes trial. While under the protection of a Kastigar
  letter, Allen clarified that, in the initial interview with agents, he mistakenly identified three wires
  to his son (who also shares his same name) as payments that he received from Esformes. In
  addition, after Allen’s initial interview, the Government realized that one of the wires Allen
  received was reversed and subsequently resent. As a result, calculation of the money Allen
  received from Esformes via wire decreased from $233,000 to $220,000. The additional $10,000
  in the PSR is unfounded, to the Government’s knowledge. The Government informed probation
  of these discrepancies and probation will likely issue and addendum to the PSR.


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  2015; and 3) conspiracy to launder the proceeds of health care fraud and wire fraud, violation of

  18 U.S.C. § 1956. 2

                                 RESPONSE TO THE PSR

         The Government respectfully requests that the Court apply the Guidelines as contemplated

  by the parties’ Plea Agreement. The recommendations in the Plea Agreement reflect Allen’s

  immediate confession to the illegal conduct and his cooperation with the Government. The Plea

  Agreement also accounts for the additional bribes Allen received via wire transfer, by

  recommending a fine of $202,000. The PSR’s higher loss recommendation and the inclusion of

  additional relevant conduct does not comport with Allen’s cooperation or the parties’ negotiated

  resolution. And while the PSR can certainly rely on relevant conduct regarding the underlying

  offense, the Government nevertheless intends to stand by its negotiated Plea Agreement with the

  Defendant, and to recommend a sentence on that basis. 3

         In addition, although Allen confessed in his uncounseled interview to receiving a larger

  sum than the Plea Agreement contemplates and those payments could have been added as relevant



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          Allen’s plea agreement therefore stands in contrast to Esformes’ conviction for the same
  $18,000 transaction. Esformes was convicted of laundering those health care fraud proceeds by
  paying Allen, in violation of 18 U.S.C. § 1956, as well as a conspiracy to launder the proceeds of
  health care fraud.

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          While the PSR stated that the entirety of the wires Allen received constituted the “value of
  the laundered funds,” DE 16:13, that is not supported by the record. See U.S.S.G. § 2S1.1(a)(2).
  The Government informed probation of this issue and probation will likely issue an addendum to
  the PSR that bases the Guidelines Calculation instead on Section 2S1.1(a)(1), which requires a
  determination of the underlying offense from which the laundering funds were derived. In the
  Plea Agreement, the Government calculated the underlying offense from which the laundered
  funds were derived based on the single transaction that formed the basis of Allen’s guilty plea;
  probation will likely rely on the other wire transfers as relevant conduct to calculate the underlying
  offense from which the laundered funds were derived. The Government does not object to
  probation’s calculation of the Guidelines in this manner, but did not include additional relevant
  conduct for the purposes of the Plea Agreement.

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  conduct, Allen provided additional details about the actual value of the bribe payments (including

  his receipt of cash payments) under the protection of the Kastigar letter. Simply put, the

  Government asks the Court to adopt the Guidelines calculation contemplated by the Plea

  Agreement, in light of the spirit of the Kasitgar letter and Allen’s cooperation in this case.

  Dated: April 19, 2019                         Respectfully submitted,

                                                ARIANA FAJARDO ORSHAN
                                                UNITED STATES ATTORNEY

                                                ROBERT ZINK, ACTING CHIEF
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                                                U.S. DEPARTMENT OF JUSTICE


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                                  CERTIFICATE OF SERVICE

         I hereby certify that, on April 19, 2019, I filed the forgoing document with the Clerk of the

  Court and served it on opposing counsel over e-mail.


                                        By:    /s/Elizabeth Young _____________
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